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UNITED STATED DISTRICT COURT
For the
M`iddle I)istrict of Florida

STANLE¥ OLSEN_. on his own behalf and others
Similarly situated,

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3"`§":‘!"-. _, \~.=_'.
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Piainnn F_L___\;

vs Case Action No: 8:1 ¥’_?5

QmNN CoNsTRUchoN, mc. a stories tim-permian § F
Defendant ' 4

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MOTION TO SET ASIDE DEFAULT OR DEFUALT .]UDGEMENT

l, Suzanne Quinn, have been retained by QUINN CONSTRUCT]ON, INC. to represent

the corporation in this matter. The Detendant, through council, requests that the Court enter an

order to set aside the Det`ault Judgement entered against QUINN CONSTRUCTION, I"NC and
the plaintiff be given a chance to present its case.

The Defendant argues that he Default Judgement should be set-aside for the following
reason:

l, Quinn became aware ofthis Default Judgment on Monday, November lS, 2010.

2. At approximately l:30p1n on November 15, 2010 we found out about a Judgement being
entered against our company after receiving a letter from a collection agency attempting to
collect thejudgement amount. A copy ofthat letter is attached herewith as Exhibit “A”. We
googled the matter and then contacted the offices of Judge Jenkins to find out about the matter.

The clerk at that office advised us that a default judgment had been entered and signed by Judge
Covington.

3. Quinn was aware of this matter via service on April 23, 2010 by service Upon service of the
complain the defendant immediately contacted the Plaintifi"s council to find out what the matter
was about. After talking with Ms, Amritt Quinn forwarded more correspondence as well as
documents showing that her client had been paid all wages for the hours he had worked for our
tirm, Quinn, Ms. Arnritt and mysele had corresponded on 2 other occasions via email. Quinn

also spoke on the telephone several times. All correspondence is attached herewith as Exhibit
"I.B,}'

4. Quinn did not receive a call from the Plaintift"’s office to clear or set a date for the Motion
Hearing.

5. Quinn Construction, Inc did not answer the complaint because after my conversation with Mr.
Amritt she had indicated, to my belief, that the case would be dropped or not persued. We were

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only instructed, via a warning from Ms. Amritt for the future payroll recording, that we have
employee’s sign each time sheet.

6. Quinn never received a notice (hearing auditor motion), via US Mail andfor email that this
matter had moved to default. We didn’t even receive a telephone call. We did not receive a copy
of Plaintifi` s Motion for a default judgement and!or a copy of the hearing notice for said default
judgment.

?. Quinn Construction, Inc did not answer or appear in court for the Motion of Default because
we never received notice of either. The Plaintif`f had the correct address for Quinn Construction,
Inc. fi'om my initial letter and the email correspondences. 'I`he Collection Company was able to
deliver to us its collection letter today. We never received any notices from Piaintit`f’s council
that this matter was moving forward

8. IfQuinn were/are given the opportunity Quinn Construction, lnc would present to the court
testimony and documents, to include but not limited to daily records, times sheets, pay stubs.
etc., showing that the defendant had been paid in fiill for all the hours he worked and that he had
been paid time and ‘/z for all overtime he worked for our company.

l certify that a copy of this document was mailed to opposing council, Kelly Amritt,
sittth st Morgan, 6324 arisen ncaa Davie, Fi 33314 this 46“' 24“‘ day ofi\iovembet 2010.

l understand that l am swearing or affirming under oath to the truthfulness of the claims
made in this motion and that the punishment for 'ngly making e statement including
fines and!or imprisonment '

     
 
 
 

Dated: Novernber 4-5, 24, 2010

/

 

ne Quinn (FMN: 0908878)
Florida Bar No: 0908878
1321 w‘*‘ street East

Palmetto, Florida 34221
(941) 722-7722

State of Florida
County of Manatee

Sworn to or affirmed and signed before me this Z_Lh day ofNovember 2010 by Suzanne Ouinn,

VP, who is personally known to me.

NOTORY PUBLIC

 

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